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                                          U.S. Department of Justice

                                                        United States Attorney
                                                        Southern District of New York

                                                        86 Chambers Street
                                                        New York, New York 10007

                                                        February 16, 2024
By ECF
The Honorable Naomi Reice Buchwald
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

        Re:     Center for Constitutional Rights v. United States Department of Defense et al.,
                23 Civ. 7689 (NRB)

Dear Judge Buchwald:

        This Office represents the United States Department of Defense (“DOD”), the United
States Department of State (“DOS”), and the United States Department of Homeland Security
(“DHS”) (collectively, the “Government”), defendants in this action brought pursuant to the
Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”). This case concerns a FOIA request
submitted by Plaintiff to DOD, DOS, and DHS pertaining to specific locations where Plaintiff
alleges the United States transferred and detained Afghan evacuees (the “FOIA Request”) and
seeking records related to alleged transfers, detentions, and locations. We write jointly with
Plaintiff’s counsel to provide the Court with a status report.

        Since the parties’ last status report of December 13, 2023, DOS made a second release of
responsive, non-exempt documents on January 29, 2024. Furthermore, the parties met and
conferred on January 10, 2024, and February 12, 2024. As discussed between the parties, DOD,
DOS, and DHS continue to remain actively engaged in conducting searches for documents
responsive to the FOIA Request and/or gathering information within their respective agencies in
order to formulate searches. In hopes of aiding those efforts, Plaintiff identified a variety of priority
documents to Defendants on November 9, 2023. DOS anticipates making its third release of
responsive, non-exempt documents in March 2024. DHS is in the process of coordinating with
components and other agencies as it processes a certain subset of potentially responsive
documents. In addition, DHS referred this FOIA Request to USCIS and CBP in December 2023.
USCIS is in the process of gathering information within its agency in order to formulate searches,
and CBP expects to provide Plaintiff an update on the status of the FOIA Request by mid-March
2024. The parties intend to continue to work cooperatively with regard to this FOIA Request and
plan to meet and confer on March 18, 2024.

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         The parties thank the Court for its consideration of this joint status report and propose to
file their next joint status report by April 5, 2024.
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                              Respectfully,

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